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                   DECLARATION OF TILSO RAMON GOMEZ LUGO

I, Tilso Ramon Gomez Lugo, hereby declare under penalty of perjury pursuant to 28 U.S.C. §
1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Tilso Ramon Gomez Lugo. I am the younger brother of Eucaris Carolina
      Gomez Lugo. I am from Venezuela and came to the United States in April 2024 to seek
      asylum. I was detained the entire time that I was in the United States. Although I passed a
      credible fear interview, I got a deportation order from the immigration judge on
      November 25, 2024, because I did not have an attorney to help me with my case.

   3. On Monday, February 3, 2025, I was taken out of the dorm in the El Paso Processing
      Center in Texas. There were 10 immigrants being transferred, including myself. They
      said we were being deported to Venezuela. However, I saw in the news that they were
      sending people to Guantánamo Bay, Cuba, so I asked if we were being sent to
      Guantánamo. The officials just laughed and said they did not know. We were brought to
      the airfield where they took photos and video of us. We were put on a military plane and
      flown to Guantánamo.

   4. When we landed, we were put on a truck. We could not see where we were going. They
      put us in a building that is like a prison. We were each put in a cell. Officers told us that
      we would be there for some time. When I asked for how long, they said they did not
      know.

   5. The officers in El Paso called us criminals, but the officers at Guantanamo say they know
      we have not done anything wrong. The government is detaining us in this way because
      we are undocumented and Latino, and some of us have tattoos. It feels like we have been
      kidnapped, incommunicado. We feel this is unjust and went on a two-day hunger strike.
      We only started to eat when they gave us a bit of information—that we would eventually
      be deported and given calls. However, we are still detained and they have not told us how
      we can make calls.

   6. Since February 1, when I last spoke with my family, until today, February 17, I have not
      been able to communicate with anyone in the outside world. To my knowledge, there is
      no way to talk to an attorney or family or anyone outside. I feel like my voice does not
      matter here. When we asked for calls, the officers say that this is a terrorist prison and
      there is no capacity to make calls.

   7. On February 17, I was able to make only one phone call to speak with the attorneys in
      this case. It feels like a miracle to have this one call. I confirm that I want to be a part of
      this case because I want to have access to attorneys and I want the other immigrants
      detained here to have access to attorneys.
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   8. We are in a barrack with about 35 people. Each person is in a cell that is only two by four
      meters, with a toilet and sink. We cannot see the sun. We are not supposed to talk to one
      another. When we are let out of our cells for a shower or recreation, we are always
      escorted and shackled. Recently, we started to get only about one hour a day outside the
      cell.

   9. I do not want to be detained at Guantánamo. I want access to an attorney to help me get
      out of detention and figure out what options I have in my immigration case. I understand
      that there are legal organizations in this case who would offer me services and I want
      them to represent me if I were able to communicate with them.

   10. Everything in this declaration is true and correct to the best of my knowledge and
       recollection. This declaration was read back to me in Spanish, a language in which I am
       fluent.


Executed on the 17th of February, 2025.

/s/ Tilso Ramon Gomez Lugo
Tilso Ramon Gomez Lugo
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Talia Roma, certify that I am fluent in both English and Spanish. On February 17, 2025,

I personally spoke with Tilso Ramon Gomez Lugo and read the foregoing declaration to him,

translated into Spanish faithfully and accurately, over the phone. Mr. Gomez Lugo affirmed that

he understood my translation and that the information in the above declaration is true and

accurate.

       Due to Mr. Gomez Lugo’s current detention situation, it was not possible to obtain a

written signature on the above declaration. In addition to confirming that the information in the

above declaration is true, Mr. Gomez Lugo also gave me verbal consent to sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
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